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                      Exhibit 27
        FILED UNDER SEAL
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                                                                      Page 372
           IN THE UNITED STATES DISTRICT COURT

          FOR THE EASTERN DISTRICT OF LOUISIANA




IN RE: XARELTO (RIVAROXABAN)
PRODUCTS LIABILITY LITIGATION       MDL No. 2592
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~     SECTION L

THIS DOCUMENT RELATES TO ALL        Judge Eldon E. Fallon
CASES                               Mag. Judge North


                      - PROTECTED -

         - SUBJECT TO FURTHER PROTECTIVE REVIEW -




                 FRIDAY, DECEMBER 9, 2016


                  SUZANNE PARISIAN, M.D.

                        VOLUME II




           Videotaped deposition of SUZANNE PARISIAN,
M.D., held at the law offices of Burg Simpson, 2398
East Camelback Road, Suite 1010, Phoenix, Arizona,
commencing at 8:48 a.m., on the above date, before
Sommer E. Greene, a Certified Court Reporter and

Certified Realtime Reporter.




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                                                                          Page 373
 1    APPEARANCES OF COUNSEL
 2
 3              For Plaintiffs:
 4

                      LEVIN, FISHBEIN, SEDRAN & BERMAN
 5                    MICHAEL M. WEINKOWITZ, ESQ.
                      510 Walnut Street, Suite 500
 6                    Philadelphia, Pennsylvania 19106
                      215.592.1500
 7                    Mweinkowitz@lfsblaw.com
 8

                      SCHLICHTER, BOGARD & DENTON
 9                    ASHLEY BRITTAIN-LANDERS, ESQ.
                      100 South Fourth Street, Suite 1200
10                    St. Louis, Missouri 63102
                      314.621.6115
11                    Abrittain@uselaws.com
12
13              For Janssen Defendants:
14                  BARNES & THORNBURG, LLP
                    JAMES F. MURDICA, ESQ.
15                  One North Wacker Drive, Suite 4400
                    Chicago, Illinois 60606
16                  312.357.1313
                    Jmurdica@btlaw.com
17
18                    BARNES & THORNBURG LLP
                      SARAH E. JOHNSTON, ESQ.
19                    2029 Century Park East, Suite 300
                      Los Angeles, California 90067
20                    310.284.3880
                      Sjohnston@btlaw.com
21
22
23
24
25



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                                                                          Page 374
 1
      APPEARANCES CONTINUED
 2
 3
                 For Janssen Defendants:
 4

                       DRINKER BIDDLE & REATH, LLP
 5
                       JULIE L. TERSIGNI, ESQ.
                       600 Campus Drive
 6
                       Florham Park, New Jersey 07932
                       973.549.7106
 7
                       Julie.tersigni@dbr.com
 8

                 For Bayer Defendants:
 9

                       BARTLIT, BECK, HERMAN, PALENCHAR
10
                       & SCOTT, LLP
                       STEVEN E. DERRINGER, ESQ.
11
                       54 West Hubbard Street, Suite 300
                       Chicago, Illinois 60654
12
                       312.494.4415
                       Steven.derringer@bartlit-beck.com
13
14

                 Also Present:
15

                       Videographer, Samantha Elliot
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                                                                          Page 580
 1         Q.      Am I right that everything you learned about
 2    the dosing of Xarelto you learned after you had been
 3    retained by the plaintiffs in this litigation?
 4                     MR. WEINKOWITZ:        Objection to form.
 5                     MS. BRITTAIN-LANDERS:          Objection.
 6                     THE WITNESS:       About the dosing, yes, sir.
 7    And based on the information I'm reading in Bayer's
 8    documents by their pharmacokinetics people.
 9         Q.      BY MR. DERRINGER:        And everything you learned
10    about the dosing of Xarelto you learned for the purpose
11    of submitting a report on behalf of the plaintiffs in
12    this litigation.        Correct?
13                     MR. WEINKOWITZ:        Objection to the form.
14                     THE WITNESS:       Actually, the things I learned
15    about Xarelto were being able to create opinions to
16    summarize the information reviewed and to create
17    regulatory opinions and know what applicable regulations
18    are.    The report -- the plaintiffs could have taken my
19    opinions or not taken my opinions.              But these are my
20    opinions and that's why I'm defending them to you as to
21    what I see from the information.
22         Q.      BY MR. DERRINGER:        Let's see if we can do it in
23    a similar way we did just before with PK and PD.                      Am I
24    right that you knew that you were going to be submitting
25    a report on behalf of plaintiffs in this litigation


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                                                                          Page 617
 1         Q.      Do you know of any medical organization that
 2    agrees with your criticism of the Xarelto label and
 3    believes that PT information should be in the Xarelto
 4    label?
 5         A.      I don't know that anyone focused on the label.
 6    I think medical organizations are trying to develop some
 7    kind of information about monitoring.               And I know there's
 8    been meetings where FDA's been trying to get monitoring
 9    information.      But in terms of PT, no, sir, I don't.
10         Q.      Okay.    Let's go to the Xarelto approvals.
11    Xarelto is indicated in the United States to reduce the
12    risk of stroke and systemic embolism in patients with
13    nonvalvular atrial fibrillation.             Correct?
14         A.      Yes, sir.
15         Q.      Xarelto is indicated in the United States for
16    the treatment of DVT, PE and for the reduction in the
17    risk of recurrence of DVT and PE.             Is that correct?
18         A.      Yes, sir.
19         Q.      And Xarelto is indicated in the United States
20    for the prophylaxis of DVT which may lead to pulmonary
21    embolism in patients undergoing knee or hip replacement
22    surgery.     Is that correct?
23         A.      Yes, sir.
24         Q.      Do you agree, ma'am, that the FDA conducted a
25    thorough review of each of those NDAs or SNDAs before


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                                                                          Page 756
 1                     CERTIFICATE OF REPORTER
 2    STATE OF ARIZONA      )
                            )
 3    COUNTY OF MARICOPA    )
 4
 5           I, Sommer E. Greene, a Certified Reporter in the
      State of Arizona, do hereby certify that the foregoing
 6    deposition was taken before me in the County of Maricopa,
      State of Arizona; that an oath or affirmation was duly
 7    administered to the witness, SUZANNE PARISIAN, M.D.,
      pursuant to A.R.S. 41-324(B); that the questions
 8    propounded to the witness and the answers of the witness
      thereto were taken down by me in shorthand and thereafter
 9    reduced to typewriting; that the transcript is a full,
      true and accurate record of the proceeding, all done to
10    the best of my skill and ability; and that the
      preparation, production and distribution of the
11    transcript and copies of the transcript comply with the
      Arizona Revised Statutes and ACJA 7-206(j)(1)(g)(1) and
12    (2).
                 The witness herein, SUZANNE PARISIAN, M.D.,
13    has requested signature.
                 I FURTHER CERTIFY that I am in no way related
14    to any of the parties nor am I in any way interested in
      the outcome hereof.
15
16               IN WITNESS WHEREOF, I have set my hand in my
      office in the County of Maricopa, State of Arizona, this
17    10th of December, 2016.
18
19
                                -------------------------------
20                              Sommer E. Greene, RPR, CRR
                                Certified Reporter 50622
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